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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: MARK D. SCHAEFFER, aka                              :       Chapter 13
       Mark Douglas Schaeffer, aka Mark Schaeffer &        :       Case No. 18-10620
       DANIELLE CHRISTA SCHAEFFER, aka                     :       Motion to
       Danielle C. Schaeffer, aka Danielle Schaeffer,      :       Modify Confirmed Plan
                     DEBTORS                               :       Hearing Date:
                                                           :       July 14, 2022 at 10:00 a.m.
                                                           :       Fourth Floor Courtroom
                                                           :       U.S. Bankruptcy Court
                                                           :       201 Penn Street, Suite 103
                                                           :       Reading, PA, 19601


                           CERTIFICATE OF NO RESPONSE:
                         MOTION TO MODIFY CONFIRMED PLAN

       The undersigned Attorney for Debtors MARK D. SCHAEFFER AND DANIELLE CHRISTA
SCHAEFFER in the above-captioned matter, hereby certifies that the Motion to Modify Confirmed
Plan was filed on June 15, 2022, and that the Motion and related Notice of Motion, Response
Deadline and Hearing Date was properly served on the all creditors and parties in interest on June
15, 2022, which set a July 6, 2022 Response Deadline. The undersigned further certifies that no
Response to the Motion to Modify Confirmed Plan has been filed. Debtors MARK D. SCHAEFFER
AND DANIELLE CHRISTA SCHAEFFER        are therefore entitled to have an Order issued granting the
Motion to Modify Confirmed Plan, as filed with this Certification.

                                             /s/ Robert J. Kidwell
                                            ROBERT J. KIDWELL, ESQUIRE
                                            Attorneys for Movant/Debtor
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